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 7
     Attorney for Defendant Triller Platform Co.
 8
 9                             UNITED STATES DISTRICT COURT
10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12 CAROLYN MARIE FERRARO; and                Case No. 2:22-cv-04765-SB-JEM
   MICHELINA PAPA,
13                                           NOTICE OF SETTLEMENT AND
14               Plaintiffs,                 JOINT STATUS REPORT RE
                                             SETTLEMENT CONFERENCE
15         vs.
16                                        Pretrial Conference: October 20, 2023
   TRILLER PLATFORM CO.,                  Trial: November 6, 2023
17 erroneously sued as and f/k/a TRILLER,
18 INC.,
19
                 Defendant.
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                      NOTICE OF SETTLEMENT AND JOINT STATUS REPORT
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 1        NOTICE OF SETTLEMENT AND JOINT STATUS REPORT RE
 2                           SETTLEMENT CONFERENCE
 3         On August 23, 2023 Plaintiffs Carolyn Marie Ferraro (“Ferraro”) and
 4 Michelina Papa (“Papa” and, together with Ferraro, “Plaintiffs”), and Defendant
 5 Triller Platform Co. (“Triller” or “Defendant”), and their respective counsel,
 6 attended private mediation. Plaintiffs and Defendant settled the entire case on
 7 August 30, 2023. Plaintiffs and Defendant are currently drafting a long form
 8 settlement agreement that they anticipate will be finalized and signed by all parties
 9 no later than September 15, 2023.
10
     Dated: September 1, 2023                       NOVIAN & NOVIAN, LLP
11
12                                           By: /s/ Lauren Woodland
                                                  Farhad Novian
13                                                Lauren Woodland
14
                                             Attorneys for Defendant Triller Platform Co.
15
16
     Dated: September 1, 2023                       DHILLON LAW GROUP INC.
17
18                                           By: /s/Anthony J. Fusaro
                                                  Matthew S. Sarelson
19                                                Anthony J. Fusaro
20                                                Nitoj P. Singh
                                                  Mark P. Meuser
21
22                                           Attorneys for Plaintiffs Carolyn Marie
                                             Ferraro and Michelina Papa
23
24
25 *Pursuant to L.R. 5-4.3.4(2)(i), the filer attests that all signatories listed, and on
26 whose behalf the filing is submitted, concur in the filing’s content and have
27 authorized the filing.
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                      NOTICE OF SETTLEMENT AND JOINT STATUS REPORT
     Case 2:22-cv-04765-SB-AS Document 75 Filed 09/01/23 Page 3 of 3 Page ID #:901


 1                             CERTIFICATE OF SERVICE
 2        I hereby certify that, on the below date, this document was electronically filed
 3 with the Clerk of the Court through the ECF system and will be sent electronically
 4 to the registered participants as identified on the Notice of Electronic Filing (NEF).
 5 I certify that all participants in the case are registered ECF users and that service will
 6 be accomplished by the ECF system.
 7
           Date: September 1, 2023                  /s/ Lauren Woodland
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                                                    LAUREN WOODLAND
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                      NOTICE OF SETTLEMENT AND JOINT STATUS REPORT
